  Case 3:17-cv-04531-PGS-TJB Document 20 Filed 02/05/18 Page 1 of 2 PageID: 495




                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY
                                              (609) 989-2040
            CHAMBERS OF                                                       U.S. COURTHOUSE
                                                                              402 E. STATE STREET, RM 6052
TONIANNE J. BONGIOVANNI                                                       TRENTON, NJ 08608
UNITED STATES MAGISTRATE JUDGE




                                           February 5, 2018

                                          LETTER ORDER

            Re:    Scott D.H. Redman v. Capital Advance Solutions, LLC
                   Civil Action No. 17-4531 (PGS)

            Dear Parties:

            The Court has reviewed Respondent Dan Logan’s (“Respondent”) December 14, 2017

  Certification and finds that it is adequately responsive. Respondent describes the material

  searched, e.g. vendor files and business contracts; whether manual search of paper files or

  whether utilized key terms (identified the terms) to search electronic documents. If unable to

  produce, Respondent states why, e.g. Third Party Records. Respondent states, “CAS is not in

  possession of telephone records maintained by First Pacific Marketing and Channel Growth, the

  companies responsible for vetting businesses.” Respondent’s Certification at 4. Respondent

  explains his efforts to seek information from other individuals/entities. Respondent further

  states,

                   “Capital Advance Solutions is no longer operating. I am the only
                   employee, only staying on to address the Petitioner’s discovery request.
                   Most of CAS’ staff was laid off in March of 2017. The Atlantic City
                   Office was closed in April of 2017. I am the only person employed by
                   CAS tasked with responding to the subpoena served on April 28, 2017.
                   There has been no one else under my control to seek information from.
                   As far as individuals or entities over which I do not have control over, I
                   have identified First Pacific Marketing and Channel Growth as vendors
                   responsible for vetting businesses seeking loans from CAS. I also identify
Case 3:17-cv-04531-PGS-TJB Document 20 Filed 02/05/18 Page 2 of 2 PageID: 496




               former employees below.”
               Respondents Certification at 4.

       The Court will not require a further response. The Court will, however, consider

awarding fees and costs associated with the filing of this Motion. Petitioner should

identify/apportion costs and fees for the initial filing and for each subsequent submission. This

information is to be submitted to the Court by March 5, 2018. Any objection by Respondent

should be submitted to the Court by March 26, 2018.


               IT IS SO ORDERED.



                                                        s/ Tonianne J. Bongiovanni
                                                     TONIANNE J. BONGIOVANNI
                                                     United States Magistrate Judge
